 Case 3:17-cv-01362 Document 1531 Filed 07/04/22 Page 1 of 1 PageID #: 79636



                  IN THE UNITED STATES DISTRICT COURT
              FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA

THE CITY OF HUNTINGTON,

Plaintiff,

v.                                       Civil Action No. 3:17-01362

AMERISOURCEBERGEN DRUG
CORPORATION, et al.,

Defendants.




CABELL COUNTY COMMISSION,
Plaintiff,
v.                                       Civil Action No. 3:17-01665

AMERISOURCEBERGEN DRUG
CORPORATION, et al.,

Defendants.

                              JUDGMENT ORDER

     For reasons set forth in the Findings of Fact and

Conclusions of Law filed this day, the court hereby ENTERS

JUDGMENT in favor of defendants.

     The Clerk is directed to send a copy of this Judgment Order

to those counsel of record who have registered to receive an

electronic NEF.

     IT IS SO ORDERED this 4th day of July, 2022.

                                         ENTER:


                                         David A. Faber
                                         Senior United States District Judge
